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     Appeal Nos. 2023-1917, 2023-1918, and 2023-1919
         UNITED STATES COURT OF APPEALS
            FOR THE FEDERAL CIRCUIT


                          QUANTIFICARE S.A.,

                                                Appellant
                              v.
                     CANFIELD SCIENTIFIC, INC.,

                                                Appellee.


       On Appeal from the United States Patent and Trademark Office,
                     Patent Trial and Appeal Board in
           Nos. IPR2021-01511, IPR2021-01518, IPR2021-01519

JOINT MOTION FOR A 10-DAY EXTENSION OF TIME FOR APPELLEE
  TO FILE ITS RESPONSIVE BRIEF AND A 14-DAY EXTENSION OF
        TIME FOR APPELLANT TO FILE ITS REPLY BRIEF

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 Michael R. Weiner                              Kevin Reiner
 Chelsea M. Murray                              McCarter & English, LLP
 Isha Shah                                      CityPlace I
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 ishah@marshallip.com
 Counsel for Appellee
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      Pursuant to Federal Rule of Appellate Procedure 26(b) and Federal Circuit

Rule 26(b), Appellee Canfield Scientific, Inc. (“Canfield”) and Appellant

QuantifiCare S.A. (“QuantifiCare”) respectfully move this Court for an extension

of time of ten (10) days for Appellee to file its responsive brief and for an

extension of time of fourteen (14) days for Appellant to file its reply brief. The

Appellee’s Response is currently due on December 11, 2023. Dkt. 19, Order dated

October 16, 2023. A 10-day extension would extend the deadline for Petitioner-

Appellee’s Response to December 21, 2023. Appellant’s Reply is due on February

27, 2024. Dkt. 19. A 14-day extension would extend the deadline for Appellant’s

Reply to March 12, 2024. This is Appellee’s second request for an extension of

time, and Appellant’s second request for an extension of time. See Dkt. 18, first

Joint Motion for extension of time. QuantifiCare has agreed to not oppose

Appellee’s request for an extension provided that the Court grants Appellant’s

extension request, and Canfield has agreed to not oppose Appellant’s request for an

extension.

      Appellee does not seek this extension for the purposes of delay, but rather to

permit counsel for Canfield adequate time to prepare its Response in view of the

demands of other matters, both professional and personal.

      Appellant also does not seek this extension for the purposes of delay, but

rather to permit counsel for QuantifiCare adequate time to prepare its Reply in

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view of the demands of other matters, both professional and personal, made

relevant by Canfield’s request for an extension.

      Pursuant to Federal Circuit Rule 26(b)(3), the Declaration of Thomas L.

Duston and the Declaration of Kevin L. Reiner are submitted in further support of

this Motion.

      For all of the foregoing reasons, the parties respectfully request that the

Court grant the Joint Motion for a 10-day extension of time to file the responsive

brief for Appellee through and including December 21, 2023 and for a 14-day

extension of the time to file the reply brief for Appellant through and including

March 12, 2024.


Dated: December 4, 2023                        Respectfully submitted,
By: /s/ Thomas L. Duston                       By: /s/ Kevin L. Reiner
Thomas L. Duston                               Mark D. Giarratana
Michael R. Weiner                              Kevin L. Reiner
Chelsea M. Murray                              McCarter & English, LLP
Isha Shah                                      CityPlace I
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Counsel for Appellee


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                  DECLARATION OF THOMAS L. DUSTON

      1.     I am an attorney admitted to the bar of this Court, and I am a partner

at the law firm Marshall, Gerstein & Borun LLP. I am counsel in this appeal for

Appellee Canfield Scientific, Inc. (“Canfield”).

      2.     I have knowledge of the facts set forth herein, and if called upon as a

witness, I could testify to them under oath.

      3.     I make this Declaration in support of Appellee’s Unopposed Motion

for a 10-Day Extension of Time To File Its Responsive Brief.

      4.     Canfield seeks the requested 10-day extension of time not for the

purpose of delay, but to ensure that counsel integrally involved in the appeal have

sufficient time to fully and thoroughly address the issues in this appeal, while

accounting for the demands of other matters, both professional and personal.

      5.     Counsel for Appellant QuantifiCare S.A. have informed us that they

will not oppose this Motion.

      6.     A 10-day extension of time is warranted here in that it is needed to

provide counsel for Canfield additional time to prepare its responsive brief due to

the workload of Canfield’s counsel on other litigation matters.

      7.     For example, I am counsel of record in each of the following cases,

each of which has or had recent or imminent deadlines for preparing claim

constructions materials, taking and defending depositions, preparing witnesses,


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filing briefs, and/or in which fact discovery is closing, that have all diverted time

available for counsel to complete Canfield’s response. See, e.g., Think Green

Limited v. Medela AG, et al., Case No. 1:21-cv-05445 (U.S. District Court for the

Northern District of Illinois); Illinois Tool Works, Inc. v. Termax Company, Case

No. 1:20-cv-05416 (U.S. District Court for the Northern District of Illinois);

Streck, Inc. and Streck LLC v. Ravgen, Inc., Case No. 23-1989 (U.S. Court of

Appeals for the Federal Circuit); Apple, Inc. v. International Trade Commission,

Case No. 23-1509 (U.S. Court of Appeals for the Federal Circuit) (amicus);

Sobansky v. Ravgen, Inc., Case No. 8:23-cv-00398-JMG-CRZ (U.S. District Court

for the District of Nebraska).

      8.     My colleagues on this appeal have similar competing demands, both

professional and personal, throughout this period, including deadlines in other

cases, client meetings on other matters, and business travel.

      9.     Under 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct.


  Executed on December 4, 2023                   /s/ Thomas L. Duston
                                                Thomas L. Duston




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                        DECLARATION OF KEVIN L. REINER

       1.     I am an attorney admitted to the bar of this Court, and I am a partner

at the law firm McCarter & English, LLP. I am counsel of record in these appeals

for Appellant QuantifiCare S.A. (“QuantifiCare”).

       2.     I have knowledge of the facts set forth herein, and if called upon as a

witness, I could testify to them under oath.

       3.     I make this Declaration with respect to the parties’ Joint Motion for a

10-Day Extension of Time for Appellee to File Its Responsive Brief and a 14-Day

Extension of Time for Appellant to File Its Reply Brief.

       4.     Counsel for Appellee Canfield Scientific, Inc. (“Canfield”) have

informed us that they do not oppose the extension of time QuantifiCare requests to

file its Reply brief.

       5.     QuantifiCare seeks the requested extension not for the purpose of

delay, but to ensure that counsel for QuantifiCare integrally involved in the appeal

have sufficient time to fully prepare QuantifiCare’s Reply brief in view of other

matters, both professional and personal, that have become relevant in view of the

10-day extension sought by Canfield.

       6.     A 14-day extension of time is warranted and needed to provide

counsel for QuantifiCare additional time to prepare its Reply brief due to the

workload of counsel on other client matters from December 2023 through March


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2024, which also includes the Christmas and New Year’s holidays, and other

professional and personal obligations. For example, principal counsel Mark D.

Giarratana and I are counsel of record in Seoul Semiconductor Co., Ltd. v. Finelite,

Inc., Case No. 3:22-cv-02869-TLT (U.S. District Court for the Northern District of

California), which involves fourteen (14) patents-in-suit and has court-ordered

deadlines and work needed to be done in December through March 2024, including

preparing for and traveling to a Markman hearing in the case, discovery, and other

pre-trial matters. In addition, in reliance on that the Reply brief would be filed by

its current deadline of October 31, 2023, counsel moved and scheduled other work

and personal commitments into December through February that affect counsel’s

ability to work on the Reply.

      7.     Under 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct.



  Executed on December 4, 2023                  /s/ Kevin L. Reiner
                                               Kevin L. Reiner




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                                                                     10/03/2023



FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 23-1917
   Short Case Caption Quantificare S.A. v. Canfield Scientific, Inc.
   Filing Party/Entity Canfield Scientific, Inc.



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        10/03/2023
  Date: _________________                   Signature:   /s/ Thomas L. Duston

                                            Name:        Thomas L. Duston
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                                                                         10/03/2023



FORM 9. Certificate of Interest                                                       Form 9 (p. 2)
                                                                                       March 2023


     1. Represented                   2. Real Party in             3. Parent Corporations
         Entities.                        Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).         Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of        Provide the full names of        Provide the full names of
 all entities represented by      all real parties in interest     all parent corporations for
 undersigned counsel in           for the entities. Do not list    the entities and all
 this case.                       the real parties if they are     publicly held companies
                                  the same as the entities.        that own 10% or more
                                                                   stock in the entities.

                                     None/Not Applicable              None/Not Applicable

Canfield Scientific, Inc.




                                     Additional pages attached
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                                                      18   Page: 10   Filed: 12/04/2023
                                                                             10/03/2023



FORM 9. Certificate of Interest                                                           Form 9 (p. 3)
                                                                                           March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
              None/Not Applicable                           Additional pages attached
Marshall, Gerstein & Borun LLP: Thomas L.
Duston; Julianne M. Hartzell; Michael R.
Weiner; Chelsea M. Murray; Isha Shah


David C. Stanziale, LLC: David C.
Stanziale




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
          Yes (file separate notice; see below)              No       N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
              None/Not Applicable                           Additional pages attached
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                     CERTIFICATE OF COMPLIANCE

      The foregoing filing complies with the relevant type-volume limitation of

the Federal Rules of Appellate Procedure and Federal Circuit Rules because the

filing has been prepared using a proportionally spaced typeface and includes 340

words.

Date: December 4, 2023             Respectfully submitted,

                                    /s/ Thomas L. Duston

                                   Thomas L. Duston
                                   Michael R. Weiner
                                   Chelsea M. Murray
                                   Isha Shah
                                   MARSHALL, GERSTEIN & BORUN LLP
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                                   ishah@marshallip.com
                                   Counsel for Appellee Canfield Scientific, Inc.
